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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

In re:                                                      Case No. 2:23-bk-00373-FMD
                                                            Chapter 11
H2O Investment Properties, LLC,

             Debtor.
_________________________________/

                              Plan of Reorganization for Small
                          Business Under Chapter 11, Subchapter V
        H2O Investment Properties, LLC, by and through its undersigned legal counsel, pursuant
to section 1189(b) of Title 11 of the United States Code (“Bankruptcy Code”), proposes this Plan
of reorganization (“Plan”) this 3rd day of July 2023.

Background for Cases Filed Under Subchapter V

   A. Description and History of the Debtor’s Business

        This Plan of Reorganization for Small Business Under Chapter 11, Subchapter V (“Plan”)
is being submitted by H2O Investment Properties, LLC (“H2O”), the above-captioned debtor and
debtor in possession (“Debtor”) under Bankruptcy Code Chapter 11, Subchapter V (11 U.S.C. §
1181 et seq.) (“Subchapter V”). Bankruptcy Code Section 1190 requires plans of reorganization
filed under Subchapter V include “a brief history of the business operations of the debtor.” 11
U.S.C. § 1190(1)(B).
         The Debtor is a Florida limited liability company founded in 2023 by Ronald Glen Sapp
(“Mr. Sapp”) and Michelle Baron (“Ms. Baron”). H2O is in the business of purchasing,
improving, and disposing of distressed property—by sale or lease –purchased from Chapter 7 and
Chapter 13 trustees. The Debtor’s ability to generate an income is largely tied to labor,
management, and other contributions by Mr. Sapp and Ms. Baron. The Debtor’s principal place of
business is an office located at 999 Vanderbilt Beach Road, Suite 200, Naples, FL 34108, which
it leases.
       Currently, the Debtor owns certain real property and improvements thereon located at 909
SW Schaeffer Road, West Linn, OR 97068 (the “West Linn Property”) and 30620 SW Rose
Lane, Wilsonville, OR 97070 (the “Wilsonville Property” and together with the West Linn
Property, the “Properties”). Substantially all the Debtor’s assets are located at, in, or on the
Properties. The Debtor maintains operations at the Properties.
         The Properties were purchased by Brilliant Homes LLC (“Brilliant”), an Oregon limited
liability company owned by Mr. Sapp, which operates similarly to the Debtor. The Properties
were at all times relevant hereto subject to secured claims. Mr. Sapp, with his substantial working
knowledge of improving and selling distressed properties, recognized that the value of the
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Properties could well exceed the value of its encumbrances; however, it would require Mr. Sapp
to invest substantial capital, energy, and—most importantly—time.
       Facing judgments which would otherwise endanger Brilliant’s operations, it transferred the
West Linn Property and Wilsonville Property to the Debtor, which thereafter made significant
investments in the Properties with Mr. Sapp’s and Ms. Barons’ help. In total, Mr. Sapp invested
over $300,000 into the Properties, targeting such investments towards repairs which would
substantially increase the Properties’ value beyond Mr. Sapp’s capital inputs.
        While the Properties would soon be in marketable condition for more than the sum of all
secured claims, certain creditors grew impatient. Notwithstanding the downward pressure a private
foreclosure auction would have on total value received, the Wilsonville Property was scheduled
for such a sale on April 3, 2023.
        On April 2, 2023, the Debtor initiated the above-captioned case (“Case”) by filing its
voluntary petition for relief under Subchapter V. The Debtor initiated the Case in light of the
foregoing, and in recognition that a forced sale would expose secured creditors to an
uncomfortably high risk of not getting paid in full. Filing this Case and this Plan ensures that
creditors with valid liens against the Properties would receive more than they would receive
outside of a Chapter 11 Case.

   B. Liquidation Analysis

        To confirm the Plan, the Court must find that all creditors and equity interest holders who
do not accept the Plan will receive at least as much under the Plan as such claim and equity interest
holders would receive in a chapter 7 liquidation. Attached hereto as Exhibit A and incorporated
herein by reference is a liquidation analysis, which shows that fully secured creditors of the West
Linn Property would receive One Hundred Percent (100%) distribution on their claims in a chapter
7 liquidation. The creditors of the Wilsonville Property, however, will not receive One Hundred
Percent (100%) and would receive substantially the same as they will under a the Plan. Moreover,
by proceeding under the terms of the Plan, the Debtor will be avoiding the additional costs that
would be incurred in a Chapter 7 case. Accordingly, the treatment proposed under the Plan
satisfies Section 1129(a)(7) of the Bankruptcy Code.
   C. Means for Implementing Plan
        This Plan proposes to sell the West Linn Property which is currently listed for sale on the
open market in order to fund the Plan. The Debtor submits that an orderly sale of the West Linn
Property will result in a better price than it could receive under fire sale conditions. Once a buyer
for the West Linn Property is identified by the Debtor, a motion to permit the sale under this Plan
will be filed. Importantly, the Debtor will be seeking relief under section 1146 of the Bankruptcy
Code in that the sale will be made pursuant to the Plan.
       The Debtor has determined that the Wilsonville Property’s value is significantly lower than
the Debtor initially believed on the Petition Date. The Wilsonville Property, not previously in a
flood plain, was later determined to be in a high-risk flood zone once the local flood maps were
redrawn. This determination created an issue with a simple renovation of the Wilsonville Property
and now requires a complete rebuild above the flood plain in order to obtain financing.




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        Because the value of the Wilsonville Property is less than the amount owed on the first
priority lien, all other subordinate liens must be voided. Contemporaneously with the Plan, the
Debtor will file motions to determine the secured status and void liens (collectively, the “Lien
Motions”) that are purportedly held by the following alleged secured creditors:
            1.   Arbor Village Homeowners Association;
            2.   City of Oregon City;
            3.   Deem Realty Funding, Inc.;
            4.   DJ Property Solutions, Inc.;
            5.   Xianghua “Ed” Pan and Gretchen Pan;
            6.   Planet Home Lending (BCMB1);
            7.   Quality Loan Service Corp of Washington; and,
            8.   Shell Point Mortgage Services.
        In the event that the subordinated lien is voided, as anticipated, the unsecured creditors will
not have standing to receive a distribution under this Plan. Instead, the only recourse that these
unsecured creditors have is against the Wilsonville Property, which is fully encumbered by Shell
Point. The Debtor’s successor purchased the Wilsonville Property subject to the liens. However,
it did not assume the payment obligations under the underlying note or other debt instrument.
Thus, the alleged secured creditors—with the exception of Shell Point—will have their lien
completely voided and will not have any further recourse against the Debtor.
    D. Ability to Make Future Plan Payments and Operate Without Further Reorganization
        The Bankruptcy Code requires that any plan of reorganization be feasible. Specifically,
Section 1129(a) of the Bankruptcy Code provides, in pertinent part, that a plan of reorganization
shall not be confirmed unless “[c]onfirmation of the plan is not likely to be followed by the
liquidation, or the need for further financial reorganization, of the debtor . . . unless such liquidation
or reorganization is proposed in the plan.” 11 U.S.C. § 1129(a)(11).
        The Debtor believes it will have the West Linn Property sold by the first-year anniversary
of the effective date of the Plan (“Effective Date”), which will fully repay all secured liens on the
West Linn Property and provide sufficient working capital to rebuild the Wilsonville Property
which would then begin generating income and, thus, contribute to the ongoing business of the
Company. The Debtor also anticipates purchasing additional properties to rehabilitate and either
lease or sell to generate additional income for the Debtor. To the extent that more funding is needed
to continue business operations, Brilliant has agreed to provide financing in the form of loans
ensuring sufficient working capital to fund the Plan.
        Chapter 11 plans of reorganization not filed under Subchapter V cannot be confirmed
unless at least One (1) impaired class of claims or interests votes to accept such plan. 11 U.S.C.
§§ 1129(a)(8), (10). However, Subchapter V plans of reorganization do not require acceptance by
impaired creditors if certain conditions are met. Bankruptcy Code Section 1191(b) provides that
if a Subchapter V plan of reorganization meets the applicable requirements set forth in Bankruptcy
Code 1129(a)—other than those set forth in Bankruptcy Code Sections 1129(a)(8), (10), & (15)—
then “the court, on request of the debtor, shall confirm the plan . . . if the plan does not discriminate
unfairly, and is fair and equitable, with respect to each class of claims or interests that is impaired
under, and has not accepted, the plan.” 11 U.S.C. § 1191(b) (emphasis added).



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        The Debtor anticipates that not all impaired classes of claims or interests will vote to
confirm the Plan. Thus, the Debtor requests the Plan be confirmed pursuant to Bankruptcy Code
Section 1191(b) in the event one or more impaired class of claims or interests votes to reject the
Plan or does not vote at all.
        Bankruptcy Code Section 1191(c) provides a non-exhaustive list of requirements which
must be met for a Subchapter V plan to be considered “fair and equitable,” and therefore subject
to confirmation as a non-consensual plan. See generally 11 U.S.C. § 1191(c).
        To be considered “fair and equitable,” a Subchapter V plan of reorganization must meet
Bankruptcy Code Section 1129(b)(2)(A)’s requirements as to all classes of secured claims. 11
U.S.C. § 1191(c)(1). Bankruptcy Code Section 1129(b)(2)(A) requires that a plan of reorganization
let secured creditors: (i) retain the entirety of their liens upon the property securing their claim,
together with deferred cash payments totaling the value—as of the plan’s effective date—of their
interest in the property securing their claim; or (ii) receive the indubitable equivalent of the
foregoing. 11 U.S.C. § 1129(b)(2)(A). Here, secured creditors for the West Linn Property and, as
determined by the Court pursuant to the Motions to Determine Secured Status and Strip Liens,
with respect to the Wilsonville Property undersecured creditors, will retain their liens and receive
deferred cash payments totaling the value—as of the Plan’s effective date—of their interest in the
property securing their claims, plus interest, under the Plan. Therefore, the Plan meets Bankruptcy
Code Section 1129(b)(2)(A)’s requirements to be “fair and equitable.”
        To be considered “fair and equitable,” a Subchapter V plan of reorganization must—over
the course of the Five (5) years immediately following the plan’s effective date—either: (i) pay
holders of allowed claims and interests cash payments equaling all of the debtor’s disposable
income (“Disposable Income”) for at least the Five (5) years immediately following the plan’s
effective date; or (ii) distribute to holders of allowed claims and interests property of a value
collectively meeting or exceeding the Disposable Income’s value for at least the Five (5) years
immediately following the plan’s effective date. 11 U.S.C. § 1191(c)(2). Bankruptcy Code Section
1191(d) defines Disposable Income as “income that is received by the debtor and that is not
reasonably necessary to be expended . . . . [for] the maintenance or support of the debtor . . . . [or]
for the payment of expenditures necessary for the continuation, preservation, or operation of the
business of the debtor.” 11 U.S.C. § 1191(d).
         Attached hereto as Exhibit B are the Debtor’s financial projections for the life of the Plan
(“Financial Projections”). The Financial Projections show that the Debtor, over the course of
Three (3) years, will pay unsecured classes of claims and interests cash payments totaling the lesser
of: (i) the amount of their claim; or (ii) all the Debtor’s Disposable Income for at least the Three
(3) years immediately following the Effective Date.
        A Subchapter V plan of reorganization cannot be considered “fair and equitable” unless
“there is a reasonable likelihood that the debtor will be able to make all payments under the plan”
and “the plan provides appropriate remedies . . . to protect the holders of claims or interests in the
event that the payments are not made.” 11 U.S.C. § 1191(c)(3).
       The Financial Projections show that the Debtor will be able to pay off all secured creditors
on the West Linn Property, fund the rebuild of the Wilsonville Property, then refinance the
Wilsonville Property to fund the ongoing business operations. Further, Brilliant has agreed to
provide loans sufficient to cover Plan payments in the event that operations’ funding is insufficient.


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By including self-executing default provisions which provide an alternate means for paying creditors no
less than they would receive if the Debtor was liquidated, the Plan also provides appropriate remedies in
the event payments are not made. Bankruptcy Code section 1192 provides, in pertinent part, that if a plan
is confirmed under Bankruptcy Code section 1191(b), discharge of the Debtor’s debts may not occur prior
to “completion by the debtor of all payments due within the first 3 years of the plan[.]” 11 U.S.C. § 1192
(2022).
        Acceptance by impaired classes of claims and interests is not necessary, as the Plan is fair
and equitable under Bankruptcy Code Section 1191. All holders of allowed interests and claims
will receive the lesser of: (i) the legal, equitable, and contractual rights to which they are entitled
by virtue of their claim or interest; or, collectively, (ii) the Debtor’s disposable income for at least
the Three (3) years immediately following the Effective Date.

       You should consult with your accountant or other financial advisor if you have any
questions pertaining to these projections.

         Article 1: Summary

             This Plan provides for:
                                                        16 classes of secured claims;
                                                        1 classes of general unsecured creditors; and
                                                        1 class of equity security holders.

        All creditors should refer to Articles 3 through 6 of this Plan for information regarding the
        precise treatment of their claim.
        Your rights may be affected. You should read these papers carefully and discuss them
        with your attorney if you have one. (If you do not have an attorney, you may wish to
        consult one.)


        Article 2: Classification of Claims and Interests
 2.01   Class 1……………. The secured claim held by Clackamas County Service District
                                Water/Sewer Department (“Clackamas W/S”). The Debtor scheduled the
                                Clackamas W/S claim as an unknown amount.

 2.02   Class 2……………. The secured claim held by Arbor Village Homeowners Association
                      (“Arbor Village”) and secured by the Wilsonville Property. The Debtor
                      scheduled Arbor Village as holding a secured claim totaling Thirteen
                      Thousand Two Hundred Thirty-Six and 11/100 Dollars ($13,236.11).




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2.03   Class 3 ..................... The secured claim held by Citadel Servicing Corp. (“Citadel”) and secured
                                     by the West Linn Property. The Debtor scheduled Citadel as holding a fully
                                     secured claim totaling One Million Three Hundred Forty-Four Thousand
                                     Eight Hundred Fourteen and 00/100 Dollars ($1,344,814.00). Citadel filed
                                     Proof of Claim No. 1 in the amount of One Million Four Hundred Twenty-
                                     Six Thousand Nine Hundred Sixty-Three and 26/100 Dollars
                                     ($1,426,963.26).

2.04   Class 4 ..................... The secured claim held by the City of Oregon City (“Oregon City 1”) and
                                     secured by the Wilsonville Property. The Debtor scheduled Oregon City 1
                                     as holding a secured claim totaling Fourteen Thousand Six Hundred One
                                     and 00/100 Dollars ($14,601.00).

2.05   Class 5 ……………. The secured claim held by the City of Oregon City (“Oregon City 2”) and
                      secured by the Wilsonville Property. The Debtor scheduled Oregon City 2
                      as holding a secured claim totaling Seventy-Two Thousand Twenty-Six
                      and 00/100 Dollars ($72,026.00).

2.06   Class 6 …………… The secured claim held by Deem Realty Funding, Inc. (“Deem 1”) and
                     secured by the Wilsonville Property. The Debtor scheduled Deem 1 as
                     holding a secured claim totaling Twenty Thousand Seven Hundred Ten
                     and 08/100 Dollars ($20,710.08).

2.07   Class 7 ……………. The secured claim held by Deem Realty Funding, Inc. (“Deem 2”) and
                      secured by the Wilsonville Property. The Debtor scheduled Deem 2 as
                      holding a secured claim totaling Forty-Nine Thousand Four Hundred
                      Twenty-Four and 96/100 Dollars ($49,424.96).

2.08   Class 8 ……………. The secured claim held by DJ Property Solutions, LLC (“DJ”) and secured
                      by the Wilsonville Property. The Debtor scheduled DJ as holding a secured
                      claim totaling Sixty-Nine Thousand Eight Hundred Ninety-Nine and
                      96/100 Dollars ($69,899.96).

2.09   Class 9………….            The secured claim held by Gretchen Pan and Xianghua “Ed” Pan (the
                               “Pans”) and secured by the Wilsonville Property. The Debtor scheduled
                               the Pans as holding a secured claim totaling Six Thousand Three Hundred
                               Five and 00/100 Dollars ($6,305.00).

2.10   Class 10 ………….          The secured claim held by Jennifer Sirrine (“Ms. Sirrine”) and secured by
                               the West Linn Property. The Debtor scheduled Ms. Sirrine as holding a
                               fully secured claim totaling Five Thousand Two Hundred Two and 00/100
                               Dollars ($5,202.00).




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2.11   Class 11 …………            The secured claim held by Loan Processing Servicing Corp. (“LPSC”) and
                                secured by the West Linn Property. The Debtor scheduled LPSC as holding
                                a fully secured claim totaling One Hundred Ninety-Seven Thousand Five
                                Hundred Ninety-Four and 29/100 Dollars ($197,594.29).

2.12   Class 12………….            The secured claim held by Oregon State Credit Union (“Oregon State
                                CU”) and secured by the West Linn Property. The Debtor scheduled
                                Oregon State CU as holding a fully secured claim totaling Twenty-Eight
                                Thousand One Hundred Sixty-Three and 29/100 Dollars ($28,163.28).

2.13   Class 13…………… The secured claim held by BCMB1 (“BCMB1”) (loan serviced by Planet
                     Home Lending (“Planet”)) and secured by the Wilsonville Property. The
                     Debtor scheduled Planet as holding a secured claim totaling Three
                     Hundred Sixty-Five Thousand and 00/100 Dollars ($365,000.00). BCMB1
                     filed Proof of Claim No. 2 in the amount of Four Hundred Two Thousand
                     Nine Hundred Eighty-Seven and 00/100 Dollars ($402,987.00).

2.14   Class 14…………… The secured claim held by Quality Loan Servicing Corp of Washington
                     (“Quality”) and secured by the Wilsonville Property. The Debtor
                     scheduled Quality as holding a secured claim totaling One Hundred Fifty
                     Thousand and 00/100 Dollars ($150,000.00). This claim is included in the
                     claim in Class 13 held by BCMB1.

2.15   Class 15 …………... The secured claim held by Shell Point Mortgage (“Shell Point”) and
                        secured by the Wilsonville Property. The Debtor scheduled Shell Point as
                        holding a secured claim totaling One Million Fifty-One Thousand Six
                        Hundred and 00/100 Dollars ($1,051,600.00).

2.16   Class 16 …………... The secured claim held by Umpqua Bank (“Umpqua”) and secured by the
                        West Linn Property. The Debtor scheduled Umpqua as holding a fully
                        secured claim totaling One Hundred Two Thousand Eight Hundred
                        Seventy-Two and 00/100 Dollars ($102,872.00).

2.17   Class 17…………… The claims of General Unsecured Creditors, excluding any “equity security
                     holders” as defined under Bankruptcy Code 101(17).

2.18   Class 18 ................... All Equity Security Holders




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       Article 3: Treatment of Administrative Expense Claims, Priority Tax Claims, and
       Quarterly and Court Fees

3.01   Unclassified claims   Under section 1123(a)(1) of the Bankruptcy Code, administrative
                             expense claims and priority tax claims need not be classified. Instead, the
                             treatment of such claims is provided for in this Article 3 of the Plan.

3.02   Administrative        Pursuant to § 1191(e) of the Bankruptcy Code, each holder of an
       expense claims        administrative expense claim allowed under § 503 of the Bankruptcy Code
                             will be paid through the Plan on the Effective Date.

3.03   Priority Tax          The Debtor is aware of certain real property taxes that are owed on the
       Claims                Properties. The Debtor intends to allocate sufficient funds from the sales
                             of the Properties to satisfy all real property taxes due and payable upon the
                             Properties upon the closing of the sale of each Property. The Debtor
                             believes that the amount necessary to satisfy such obligation currently
                             totals approximately Three Thousand and 00/100 Dollars ($3,000.00). The
                             priority unsecured tax claim—under Bankruptcy Code § 507(a)(8)—held
                             by the Clackamas County Tax Collector Real Estate Taxes (“Clackamas
                             RE Tax”). The Debtor scheduled the Clackamas RE Tax claim totaling
                             Three Thousand and 00/100 Dollars ($3,000.00).


3.03   Statutory fees        All fees required to be paid under 28 U.S.C. § 1930 that are owed on or
                             before the Effective Date have been paid or will be paid timely as they
                             come due; provided, however, that there are no statutory fees due pursuant
                             to 28 U.S.C. § 1930(a)(6)(A) as this is a case under Subchapter V of the
                             Bankruptcy Code.


Article 4: Treatment of Claims and Interests Under the Plan
Claims and interests shall be treated as follows under this Plan:

       Class                    Impairment          Treatment

       Class 1 – The            [ ] Impaired        Class 1 is unimpaired by the Plan.
       Clackamas W/S            [X]Unimpaired
       priority unsecured                           Class 1 consists of the secured claim held by
       claim.                                       Clackamas W/S. The allowed Class 1 claim shall be
                                                    paid in equal quarterly payments over the life of the
                                                    Plan.

                                                    Class 1 is deemed unimpaired under Bankruptcy
                                                    Code section 1124 and is not eligible to vote on the
                                                    Plan.


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Class 2 – Arbor Village [ X ] Impaired Class 2 is impaired by the Plan.
                        [ ] Unimpaired
                                       Class 2 consists of the secured scheduled claim held
                                       by Arbor Village. Arbor Village failed to timely file
                                       a Proof of Claim. The Arbor Village claim is last in
                                       priority on the Wilsonville Property. The
                                       Wilsonville Property is deemed to be valued
                                       significantly lower than anticipated and may not
                                       have sufficient value to pay off all secured
                                       creditors.

                                           The Debtor purchased the Wilsonville Property
                                           subject to this secured claim. However, the Debtor
                                           did not assume the underlying obligations for any
                                           deficiency claim. Therefore, Arbor Village’s only
                                           recourse to be paid on this claim is through its lien,
                                           which is completely undersecured.

                                           The Debtor intends to file a Motion to Determine
                                           Secured Status and Void Liens as to each claim
                                           secured by the Wilsonville Property. If the liens are
                                           stripped, Arbor Village will have no other recorse
                                           against the Debtor and will not receive any
                                           distribution under this Plan.

                                           Class 2 is deemed impaired under Bankruptcy Code
                                           section 1124 and is eligible to vote on the Plan.

Class 3 – Citadel       [ ] Impaired       Class 3 is unimpaired by the Plan.
                        [X] Unimpaired
                                           Class 3 consists of the secured claim of Citadel.
                                           Citadel timely filed Proof of Claim No. 1 in the
                                           amount of $1,426,963.26. The Debtor intends to
                                           satisfy the allowed claim secured by the West Linn
                                           Property held by Citadel from the proceeds of the
                                           sale of the West Linn Property which is currently
                                           listed for sale.

                                           Until paid in full on account of such Class 3 claim,
                                           the holder of allowed Class 3 claim shall be granted
                                           a lien in the West Linn Property (and in the
                                           applicable proof of claim) to the same extent and
                                           validity as their pre-petition lien upon the West


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                                     Linn Property. The Debtor has agreed to make
                                     adequate protection payments in the amount of
                                     $9,507.26 per month on this debt.

                                     Class 3 is deemed unimpaired under Bankruptcy
                                     Code section 1124 and is not eligible to vote on the
                                     Plan.

Class 4 – Oregon   [X] Impaired      Class 4 is impaired by the Plan.
City 1             [ ] Unimpaired
                                     Class 4 consists of the secured scheduled claim of
                                     Oregon City 1. Oregon City 1 failed to timely file a
                                     proof of claim. The Oregon City 1 claim is 8th in
                                     priority on the Wilsonville Property. The
                                     Wilsonville Property is deemed to be valued
                                     significantly lower than anticipated and may not
                                     have sufficient value to pay off all secured
                                     creditors.

                                     The Debtor purchased the Wilsonville Property
                                     subject to this secured claim. However, the Debtor
                                     did not assume the underlying obligations for any
                                     deficiency claim. Therefore, Oregon City 1’s only
                                     recourse to be paid on this claim is through its lien,
                                     which is completely undersecured.

                                     The Debtor intends to file a Motion to Determine
                                     Secured Status and Void Liens as to each claim
                                     secured by the Wilsonville Property. If the liens are
                                     stripped, Oregon City 1 will have no other recorse
                                     against the Debtor and will not receive any
                                     distribution under this Plan.

                                     Class 4 is deemed impaired under Bankruptcy Code
                                     section 1124 and is eligible to vote on the Plan.




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Class 5 – Oregon   [X] Impaired      Class 5 is impaired by the Plan.
City 2             [ ] Unimpaired
                                     Class 5 consists of the secured scheduled claim of
                                     Oregon City 2. Oregon City 2 failed to timely file a
                                     proof of claim. The Oregon City 2 claim is 7th in
                                     priority on the Wilsonville Property. The
                                     Wilsonville Property is deemed to be valued
                                     significantly lower than anticipated and may not
                                     have sufficient value to pay off all secured
                                     creditors.

                                     The Debtor purchased the Wilsonville Property
                                     subject to this secured claim. However, the Debtor
                                     did not assume the underlying obligations for any
                                     deficiency claim. Therefore, Oregon City 2’s only
                                     recourse to be paid on this claim is through its lien,
                                     which is completely undersecured.

                                     The Debtor intends to file a Motion to Determine
                                     Secured Status and Void Liens as to each claim
                                     secured by the Wilsonville Property. If the liens are
                                     stripped, Oregon City 2 will have no other recorse
                                     against the Debtor and will not receive any
                                     distribution under this Plan.

                                     Class 5 is deemed impaired under Bankruptcy Code
                                     section 1124 and is eligible to vote on the Plan.




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Class 6 – Deem 1   [X] Impaired      Class 6 is impaired by the Plan.
                   [ ] Unimpaired
                                     Class 6 consists of the secured scheduled claim of
                                     Deem 1. Deem 1 failed to timely file a proof of
                                     claim. The Deem 1 claim is 6th in priority on the
                                     Wilsonville Property. The Wilsonville Property is
                                     deemed to be valued significantly lower than
                                     anticipated and may not have sufficient value to pay
                                     off all secured creditors.

                                     The Debtor purchased the Wilsonville Property
                                     subject to this secured claim. However, the Debtor
                                     did not assume the underlying obligations for any
                                     deficiency claim. Therefore, Deem 1’s only
                                     recourse to be paid on this claim is through its lien,
                                     which is completely undersecured.

                                     The Debtor intends to file a Motion to Determine
                                     Secured Status and Void Liens as to each claim
                                     secured by the Wilsonville Property. If the liens are
                                     stripped, Deem 1 will have no other recorse against
                                     the Debtor and will not receive any distribution
                                     under this Plan.

                                     Class 6 is deemed impaired under Bankruptcy Code
                                     section 1124 and is eligible to vote on the Plan.




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Class 7 – Deem 2   [X] Impaired      Class 7 is impaired by the Plan.
                   [ ] Unimpaired
                                     Class 7 consists of the secured scheduled claim of
                                     Deem 2. Deem 2 failed to timely file a proof of
                                     claim. The Deem 2 claim is 5th in priority on the
                                     Wilsonville Property. The Wilsonville Property is
                                     deemed to be valued significantly lower than
                                     anticipated and may not have sufficient value to pay
                                     off all secured creditors.

                                     The Debtor purchased the Wilsonville Property
                                     subject to this secured claim. However, the Debtor
                                     did not assume the underlying obligations for any
                                     deficiency claim. Therefore, Deem 2’s only
                                     recourse to be paid on this claim is through its lien,
                                     which is completely undersecured.

                                     The Debtor intends to file a Motion to Determine
                                     Secured Status and Void Liens as to each claim
                                     secured by the Wilsonville Property. If the liens are
                                     stripped, Deem 2 will have no other recorse against
                                     the Debtor and will not receive any distribution
                                     under this Plan.

                                     Class 7 is deemed impaired under Bankruptcy Code
                                     section 1124 and is eligible to vote on the Plan.




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Class 8 – DJ       [X] Impaired      Class 8 is impaired by the Plan.
                   [ ] Unimpaired
                                     Class 8 consists of the secured scheduled claim of
                                     DJ. DJ failed to timely file a proof of claim. The
                                     DJ claim is 4th in priority on the Wilsonville
                                     Property. The Wilsonville Property is deemed to be
                                     valued significantly lower than anticipated and may
                                     not have sufficient value to pay off all secured
                                     creditors.

                                     The Debtor purchased the Wilsonville Property
                                     subject to this secured claim. However, the Debtor
                                     did not assume the underlying obligations for any
                                     deficiency claim. Therefore, DJ’s only recourse to
                                     be paid on this claim is through its lien, which is
                                     completely undersecured.

                                     The Debtor intends to file a Motion to Determine
                                     Secured Status and Void Liens as to each claim
                                     secured by the Wilsonville Property. If the liens are
                                     stripped, DJ will have no other recorse against the
                                     Debtor and will not receive any distribution under
                                     this Plan.

                                     Class 8 is deemed impaired under Bankruptcy Code
                                     section 1124 and is eligible to vote on the Plan.




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Class 9 - Pans     [X] Impaired      Class 9 is impaired by the Plan.
                   [ ] Unimpaired
                                     Class 9 consists of the secured scheduled claim of
                                     the Pans. The Pans failed to timely file a proof of
                                     claim. The Pans claim is 3rd in priority on the
                                     Wilsonville Property. The Wilsonville Property is
                                     deemed to be valued significantly lower than
                                     anticipated and may not have sufficient value to pay
                                     off all secured creditors.

                                     The Debtor purchased the Wilsonville Property
                                     subject to this secured claim. However, the Debtor
                                     did not assume the underlying obligations for any
                                     deficiency claim. Therefore, The Pans’ only
                                     recourse to be paid on this claim is through its lien,
                                     which is completely undersecured.

                                     The Debtor intends to file a Motion to Determine
                                     Secured Status and Void Liens as to each claim
                                     secured by the Wilsonville Property. If the liens are
                                     stripped, The Pans will have no other recorse
                                     against the Debtor and will not receive any
                                     distribution under this Plan.

                                     Class 9 is deemed impaired under Bankruptcy Code
                                     section 1124 and is eligible to vote on the Plan.




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Class 10 – Ms. Sirrine   [ ] Impaired      Class 10 is unimpaired by the Plan.
                         [X] Unimpaired
                                           Class 10 consists of the secured claim of Ms.
                                           Sirrine. Ms. Sirrine failed to timely file a proof of
                                           claim. The Debtor intends to satisfy the allowed
                                           claim secured by the West Linn Property held by
                                           Ms. Sirrine from the proceeds of the sale of the
                                           West Linn Property which is currently listed for
                                           sale.

                                           Until paid in full on account of such Class 10 claim,
                                           the holder of allowed Class 10 claim shall be
                                           granted a lien in the West Linn Property to the same
                                           extent and validity as their pre-petition lien upon the
                                           West Linn Property.

                                           Class 10 is deemed unimpaired under Bankruptcy
                                           Code section 1124 and is not eligible to vote on the
                                           Plan.

Class 11 - LPSC          [ ] Impaired      Class 11 is unimpaired by the Plan.
                         [X] Unimpaired
                                           Class 11 consists of the secured claim of LPSC.
                                           LPSC failed to timely file a proof of claim. The
                                           Debtor intends to satisfy the allowed claim secured
                                           by the West Linn Property held by LPSC from the
                                           proceeds of the sale of the West Linn Property
                                           which is currently listed for sale.

                                           Until paid in full on account of such Class 11 claim,
                                           the holder of allowed Class 11 claim shall be
                                           granted a lien in the West Linn Property to the same
                                           extent and validity as their pre-petition lien upon the
                                           West Linn Property.

                                           Class 11 is deemed unimpaired under Bankruptcy
                                           Code section 1124 and is not eligible to vote on the
                                           Plan.




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Class 12 – Oregon   [ ] Impaired      Class 12 is unimpaired by the Plan.
State CU            [X] Unimpaired
                                      Class 12 consists of the secured claim of Oregon
                                      State CU. Oregon State CU failed to timely file a
                                      Proof of Claim. The Debtor intends to satisfy the
                                      allowed claim secured by the West Linn Property
                                      held by Oregon State CU from the proceeds of the
                                      sale of the West Linn Property which is currently
                                      listed for sale.

                                      Until paid in full on account of such Class 12 claim,
                                      the holder of allowed Class 12 claim shall be
                                      granted a lien in the West Linn Property to the same
                                      extent and validity as their pre-petition lien upon the
                                      West Linn Property.

                                      Class 12 is deemed unimpaired under Bankruptcy
                                      Code section 1124 and is not eligible to vote on the
                                      Plan.




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Class 13 – BCMB1   [X] Impaired      Class 13 is impaired by the Plan.
                   [ ] Unimpaired
                                     Class 13 consists of the secured scheduled claim of
                                     BCMB1 in the amount of $365,000.00. BCMB1
                                     timely filed Proof of Claim No. 2 in the amount of
                                     $402,987.00. The BCMB1 claim is 2nd in priority
                                     on the Wilsonville Property. The Wilsonville
                                     Property is deemed to be valued significantly lower
                                     than anticipated and may not have sufficient value
                                     to pay off all secured creditors.

                                     The BCMB1 claim appears to include the claim in
                                     Class 14 held by Quality. It appears that Quality
                                     was a substitute trustee for BCMB1 as noted on the
                                     title report for the Wilsonville Property. Once the
                                     status is verified, the Debtor will amend its
                                     schedules to remove Quality as a creditor.

                                     The Debtor purchased the Wilsonville Property
                                     subject to this secured claim. However, the Debtor
                                     did not assume the underlying obligations for any
                                     deficiency claim. Therefore, BCMB1’s only
                                     recourse to be paid on this claim is through its lien,
                                     which is completely undersecured.

                                     The Debtor intends to file a Motion to Determine
                                     Secured Status and Void Liens as to each claim
                                     secured by the Wilsonville Property. If the liens are
                                     stripped, BCMB1 will have no other recorse against
                                     the Debtor and will not receive any distribution
                                     under this Plan.

                                     Class 13 is deemed impaired under Bankruptcy
                                     Code section 1124 and is eligible to vote on the
                                     Plan.




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Class 14 – Quality   [X] Impaired      Class 14 is impaired by the Plan.
                     [ ] Unimpaired
                                       Class 14 consists of the secured scheduled claim of
                                       Quality. Quality failed to timely file a proof of
                                       claim, however, this claim appears to be included in
                                       the Class 13 BCMB1 claim. The BCMB1, which
                                       includes this claim, is 2nd in priority on the
                                       Wilsonville Property. The Wilsonville Property is
                                       deemed to be valued significantly lower than
                                       anticipated and may not have sufficient value to pay
                                       off all secured creditors.

                                       This claim is believed to have been subsumed by
                                       the Class 13 claim held by BCMB1. It appears that
                                       Quality was a substitute trustee for BCMB1 as
                                       noted on the title report for the Wilsonville
                                       Property. Once Quality’s status is verified, the
                                       Debtor will amend its schedules to remove Quality
                                       as a creditor.

                                       The Debtor purchased the Wilsonville Property
                                       subject to this secured claim. However, the Debtor
                                       did not assume the underlying obligations for any
                                       deficiency claim. Therefore, Quality’s only
                                       recourse to be paid on this claim is through its lien,
                                       which is completely undersecured.

                                       The Debtor intends to file a Motion to Determine
                                       Secured Status and Void Liens as to each claim
                                       secured by the Wilsonville Property. If the liens are
                                       stripped, Quality will have no other recorse against
                                       the Debtor and will not receive any distribution
                                       under this Plan.

                                       Class 14 is deemed impaired under Bankruptcy
                                       Code section 1124 and is eligible to vote on the
                                       Plan.




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Class 15 – Shell Point   [X] Impaired      Class 15 is impaired by the Plan.
                         [ ] Unimpaired
                                           Class 15 consists of the secured scheduled claim of
                                           Shell Point. Shell Point failed to timely file a proof
                                           of claim. The Shell Point claim is 1st priority on
                                           the Wilsonville Property. The Wilsonville Property
                                           is deemed to be valued significantly lower than
                                           anticipated and may not have sufficient value to pay
                                           off all secured creditors.

                                           The Debtor purchased the Wilsonville Property
                                           subject to this secured claim. However, the Debtor
                                           did not assume the underlying obligations for any
                                           deficiency claim. Therefore, Shell Point’s only
                                           recourse to be paid on this claim is through its lien,
                                           which is completely undersecured.

                                           The Debtor intends to file a Motion to Determine
                                           Secured Status and Void Liens as to each claim
                                           secured by the Wilsonville Property. If the liens are
                                           stripped, Shell Point will have no other recorse
                                           against the Debtor and will not receive any
                                           distribution under this Plan. Because Shell Point
                                           holds 1st priority lien, a portion of this claim will
                                           be paid up to the current value of the secured
                                           interest.

                                           Class 15 is deemed impaired under Bankruptcy
                                           Code section 1124 and is eligible to vote on the
                                           Plan.




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Class 16 – Umpqua     [ ] Impaired      Class 16 is unimpaired by the Plan.
                      [X] Unimpaired
                                        Class 16 consists of the secured claim of Umpqua.
                                        Umpqua failed to timely file a Proof of Claim. The
                                        Debtor intends to satisfy the allowed claim secured
                                        by the West Linn Property held by Umpqua from
                                        the proceeds of the sale of the West Linn Property
                                        which is currently listed for sale.

                                        Until paid in full on account of such Class 16 claim,
                                        the holder of allowed Class 16 claim shall be
                                        granted a lien in the West Linn Property to the same
                                        extent and validity as their pre-petition lien upon the
                                        West Linn Property.

                                        Class 16 is deemed unimpaired under Bankruptcy
                                        Code section 1124 and is not eligible to vote on the
                                        Plan.

Class 17 – General    [X] Impaired      Class 17 is impaired by the Plan.
Unsecured Creditors   [ ] Unimpaired
                                        Class 17 consists of the General Unsecured
                                        Creditors. Holders of allowed Class 17 claims shall
                                        receive a pro rata quarterly distribution collectively
                                        totaling the Debtor’s Disposable Income,
                                        commencing at the beginning of the first (1st)
                                        Quarter of Year 2 of the Plan. Holders of allowed
                                        Class 17 claims shall be paid until their allowed
                                        claim is paid in full, or the Third (3rd) year
                                        anniversary of the Effective Date, whichever is
                                        earlier.

                                        Class 17 is deemed impaired under Bankruptcy
                                        Code section 1124 and is eligible to vote on the
                                        Plan.




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       Class 18 – Equity       [X] Impaired        Class 18 is impaired under the Plan.
       Security Holders        [ ] Unimpaired
                                                   Class 18 consists of the Equity Security Holders.
                                                   All holders of Class 18 claims and interests shall
                                                   retain their interest in the Debtor. While all holders
                                                   of Class 18 claims and interests shall retain their
                                                   interest in the Debtor, all claims which holders of
                                                   Class 18 claims and interests may assert against the
                                                   Debtor shall be disallowed in their entirety.

                                                   Class 18 is deemed impaired under Bankruptcy
                                                   Code section 1124 and is eligible to vote on the
                                                   Plan.




       Article 5: Allowance and Disallowance of Claims

5.01   Disputed Claims     A disputed claim is a claim that has not been allowed or disallowed by a
                           non-appealable final order, and as to which either:
                           (i) a proof of claim has been filed or deemed filed, and the Debtor or another
                           party in interest has filed an objection; or
                           (ii) no proof of claim has been filed, and the Debtor has scheduled such
                           claim as disputed, contingent, or unliquidated.

5.02   Distribution on a   No distribution will be made on account of a disputed claim unless such
       Disputed Claim      claim is allowed by a non-appealable final order.


5.03   Settlement of       The Debtor will have the power and authority to settle and compromise a
       Disputed Claims     disputed claim with the Court’s approval and in compliance with Rule 9019
                           of the Federal Rules of Bankruptcy Procedure.


       Article 6: Provisions for Executory Contracts and Unexpired Leases
6.01   Assumed             The Debtor is not party to any unexpired leases. The Debtor shall assume
       Contracts &         all executory contracts.
       Leases




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6.02   Cure Claims and Any lessor, lessee, or other party to an assumed contract asserting a cure
       Rejection Damage claim in connection with the assumption of any unexpired lease or
       Claims           executory contract, as contemplated by Section 365(b) of the Bankruptcy
                        Code, must file such cure claim with the Bankruptcy Court on or before the
                        deadline to vote to accept or reject the Plan or such other deadline that is
                        ordered by the Bankruptcy Court, asserting all alleged amounts accrued or
                        alleged defaults through the Effective Date. Any lessor or other party to an
                        executory contract or unexpired lease assumed by the Debtor failing to file
                        a cure claim by such deadline shall be forever barred from asserting,
                        collecting, or seeking to assert or collect any amounts or defaults relating
                        thereto against the Debtor. The Debtor or the Reorganized Debtor, as
                        applicable, shall have sixty (60) days from the Effective Date to file an
                        objection to any cure claim. Any disputed cure claims shall be resolved
                        either consensually or by the Bankruptcy Court. Except as may otherwise
                        be agreed to by the parties, the Reorganized Debtor shall cure all undisputed
                        cure claims within 180 days after the Effective Date. Except as may
                        otherwise be agreed to by the parties, the Reorganized Debtor shall cure all
                        disputed cure claims within 120 days after the entry of a final order
                        determining the amount, if any, of the Debtor’s liabilities with respect
                        thereto.

                            A proof of claim arising from the rejection of an executory contract or
                            unexpired lease under this section must be filed no later than 30 days after
                            the date of the order confirming this Plan.



       Article 7: Means for Implementation of the Plan

7.01   Funding Source      Payments required under the Plan will be funded from (i) funds derived from
       for Plan            the sale of the West Linn Property; (ii) revenues generated by continued
       Payments            operations; and (iii) as needed and subject to Court Approval, Brilliant will
                           provide loans sufficient to meet Plan payments.

7.02   Distributions by All distributions under the Plan shall be made by the Debtor, whether the Plan
       Debtor           is confirmed pursuant to Section 1191(a) or (b) of the Bankruptcy Code.

7.03   Vesting of Assets On the Effective Date, except as otherwise expressly provided in this Plan or
                         in the Bankruptcy Code, all assets of the Debtor’s estate (including any causes
                         of action) shall vest in the Reorganized Debtor, free and clear of all liens,
                         debts, obligations, claims, cure claims, liabilities, encumbrances, and all other
                         interests of every kind and nature, and the Confirmation Order shall so
                         provide.




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7.04   Default            If the Debtor fails to make any payment required under the Plan and if such
                          default continues for a period of 30 days following receipt by the Debtor of
                          notice of such default from any affected holder of an allowed claim, upon
                          written demand from any such affected holder of an allowed claim, unless the
                          Debtor disputes the existence of the alleged payment default, the Debtor shall,
                          within 30 days, seek to modify the Plan pursuant to Section 1193(b) of the
                          Bankruptcy Code to, among other things, eliminate the said payment default.

                          In the event of an uncured default, which is not eliminated by virtue of a post-
                          confirmation modification of the Plan: (i) secured creditors may pursue their
                          collateral and any other applicable remedies in any court of competent
                          jurisdiction; and (ii) unsecured creditors may pursue any applicable remedies
                          in any court of competent jurisdiction.


       Article 8: General Provisions

8.01   Definitions and     The definitions and rules of construction set forth in §§ 101 and 102 of the
       Rules of            Bankruptcy Code shall apply when terms defined or construed in the
       Construction        Bankruptcy Code are used in this Plan.

8.02   Effective Date      The Effective Date of this Plan (the “Effective Date”) shall occur 14 days
                           after the entry of a Final Order confirming the Plan. If, however, a stay of
                           the confirmation order is in effect on that date, the Effective Date will be
                           the first business day after the date on which the stay expires or is otherwise
                           terminated.

8.03   Severability        If any provision in this Plan is determined to be unenforceable, the
                           determination will in no way limit or affect the enforceability and operative
                           effect of any other provision of this Plan.

8.04   Binding Effect      The rights and obligations of any entity named or referred to in this Plan
                           will be binding upon and will inure to the benefit of the successors or
                           assigns of such entity.


8.05   Captions            The headings contained in this Plan are for convenience of reference only
                           and do not affect the meaning or interpretation of this Plan.

8.06   Controlling Effect Unless a rule of law or procedure is supplied by federal law (including the
                          Bankruptcy Code and the Federal Rules of Bankruptcy Procedure), the laws
                          of the State of Florida govern this Plan and any agreements, documents, and
                          instruments executed in connection with this Plan, except as otherwise
                          provided in this Plan or such other agreement, document, or instrument.




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8.07   Corporate       To the extent prohibited by § 1123(a)(6) of the Bankruptcy Code, the Debtor
       Governance      will not issue non-voting equity interests, and their applicable governing
                       documents will be deemed to have been amended as of the Effective Date
                       of the Plan to prohibit such issuance

8.08   Retention of    Notwithstanding the entry of the Confirmation Order and the occurrence of
       Jurisdiction    the Effective Date, until the Reorganization Case is closed, the Bankruptcy
                       Court shall retain the fullest and most extensive jurisdiction of the
                       Reorganization Case that is permitted by applicable law, including any
                       jurisdiction that is necessary or appropriate to ensure that the purposes and
                       intent of the Plan are carried out.




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       Article 9: Discharge and Special Tax Provisions


9.01   Discharge          If the Debtor’s Plan is confirmed under § 1191(a), on the Effective Date of
                          the Plan, the Debtor will be discharged from any debt that arose before
                          confirmation of this Plan, to the extent specified in § 1141(d)(1)(A) of the
                          Code, except that the Debtor will not be discharged of any debt imposed by
                          this Plan.

                          If the Debtor’s Plan is confirmed under § 1191(b), confirmation of the Plan
                          does not discharge any debt provided for in this Plan until the court grants
                          a discharge on completion of all payments due within the first 3 years of the
                          Plan, or as otherwise provided in § 1192 of the Code. The Debtor will not
                          be discharged from any debt:

                          (i)    On which the last payment is due after the first 3 years of the Plan,
                                 or as otherwise provided in § 1192; or
                          (ii)   Excepted from discharge under § 523(a) of the Code, except as
                                 provided in Rule 4007(c) of the Federal Rules of Bankruptcy
                                 Procedure.

9.02   Special Tax        The issuance, transfer, or exchange of a security, or the making or delivery
       Provisions         of an instrument of transfer under the Plan shall not be taxed under any law
                          imposing a stamp tax or similar tax. There shall be no tax under any law
                          imposing a stamp tax or similar tax due on the recording or execution of
                          any documents related to: (i) transferring real or personal property to or
                          from the Debtor; or (ii) financing obtained by the first transferee of any
                          property from the Debtor as provided under the Plan.

                          Specifically, but without limitation, there shall be no tax under any law
                          imposing a stamp tax or similar tax due on the recording of any documents
                          related to transferring property to or from the Debtor.


9.03   Proposed Officer   If the Plan is confirmed, Mr. Ronald Sapp and Ms. Michelle Baron shall
                          continue to serve as the Debtor’s owners, officers, and managers. No
                          distributions or compensation shall be made to Mr. Sapp or Ms. Baron until
                          all payments on account of allowed Class 17 claims have been made.




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Dated: July 3, 2023                     H2O Investment Properties, LLC
                                        By: /s/ Ronald Sapp
                                        Ronald Sapp
                                        Manager
                                        Filer’s Attestation: Pursuant to
                                        Local Rule 1001-2(g)(3) regarding signatures,
                                        Michael R. Dal Lago attests that concurrence
                                        in the filing of this paper has been obtained.


Dated: July 3, 2023                     DAL LAGO LAW
                                        999 Vanderbilt Beach Road
                                        Suite 200
                                        Naples, FL 34108
                                        Telephone: (239) 571-6877

                                        By: /s/ Michael R. Dal Lago
                                        MICHAEL R. DAL LAGO
                                        Florida Bar No. 102185
                                        Email: mike@dallagolaw.com
                                        CHRISTIAN GARRETT HAMAN
                                        Florida Bar No. 1017079
                                        Email: chaman@dallagolaw.com
                                        JENNIFER M. DUFFY
                                        Florida Bar No. 1028911
                                        Email: jduffy@dallagolaw.com
                                        Counsel for H2O Investment Properties, LLC,
                                        Debtor and Debtor-in-Possession




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                         Exhibit “A”

                     Liquidation Analysis




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H2O Investment Properties, LLC
Liquidation Analysis


                                                                                 Estimated Amount of       Net Value of
                                              Liquidation Value of Assets        Encumbrances or Sale      Assets to
                                                                                      Discount             Creditors


Statement of Assets
Real Property                                       West Linn $2,750,000.00                $1,850,000.00        $900,000.00

                                                     Wilsonville $850,000.00               $1,280,080.00      -$430,080.00




Total Liquidation Proceeds West Linn                           $1,050,000.00                                 $1,050,000.00
Total Liquidation Proceeds                                      -$430,080.00                                  -$430,080.00
Administrative Expense Claims Chapter 7
                                                                                                                  $5,000.00
Professional Fees
Chapter 7 Trustee Fees                                                                                            $1,000.00
Chapters 7 Trustee Costs                                                                                           $500.00
Chapter 11 Professional Fees                                                                                     $15,000.00
SubChapter V Fees                                                                                                 $2,500.00
Accrued US Trustee Fees                                                                                               $0.00
Total Admininstative Claims                                                                                      $24,000.00


Priority Claims Priority Tax Claims                                                                               $3,000.00
Total Priority Claims                                                                                             $3,000.00




Class 3 General Unsecured Claims                                                                                $350,000.00
Total Unsecured Claims                                                                                          $350,000.00
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                         Exhibit “B”

                Projected Financial Information




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H2O Investment Properties, LLC
Profit & Loss Statement
                                                                   Year 1                                            Year 2                                            Year 3
                                                   Q1         Q2            Q3         Q4           Q1          Q2            Q3          Q4          Q1          Q2            Q3         Q4
Income
                                  Sale of West
          Source 1                Linn                  $0         $0            $0         $0   $2,700,000          $0            $0          $0          $0          $0            $0         $0
          Source 2 (subject to    Brilliant
          Court Approval)         Homes Loan       $86,893    $57,327       $57,327    $57,327                $15,468     $15,468        $15,468     $15,468     $15,468             $0         $0
                                  Refinance of
                                  Wilsonville
                                  Property-less
          Source 3                land loan             $0         $0            $0         $0           $0          $0            $0          $0          $0          $0    $15,468 $795,343

Total Income                                       $86,893    $57,327       $57,327    $57,327   $2,700,000 $15,468       $15,468        $15,468     $15,468     $15,468     $15,468 $795,343

Expense
          Property Taxes                                $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Utilities (W/S, Elec, Gas, Trash)         $9,000     $9,000        $9,000     $9,000           $0        $0             $0          $0          $0          $0            $0       $0
          Landscape                                 $3,000     $3,000        $3,000     $3,000       $1,500    $1,500         $1,500      $1,500      $1,500      $1,500        $1,500   $1,500
          Maintenance                               $1,500     $1,500        $1,500     $1,500           $0        $0             $0          $0          $0          $0            $0       $0
          Post Confirmation Sub V Trustee           $1,000     $1,000        $1,000     $1,000       $1,000    $1,000         $1,000      $1,000      $1,000      $1,000        $1,000   $1,000
          Administrative Exp (Trustee)              $5,000         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Administrative Exp (Legal Fees)          $21,566         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Post Confirmation Professional Fees       $5,000     $5,000        $5,000     $5,000       $5,000    $5,000         $5,000      $5,000      $5,000      $5,000        $5,000   $5,000
          Tax Claim Clackamas RE Tax                $3,000         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 1 claim- Clackamas W/S                $500       $500         $500       $500          $500     $500           $500        $500        $500        $500          $500     $500
          Class 2 claim- Arbor Village                  $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 3 claim-Citadel                    $28,522    $28,522       $28,522    $28,522   $1,312,876        $0             $0          $0          $0          $0            $0       $0
          Class 4 claim-Oregon City 1                   $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 5 claim-Oregon City 2                   $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 6 claim- Deem 1                         $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 7 claim- Deem 2                         $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 8 claim-DJ                              $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 9 claim- Pans                           $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 10 claim -Ms Sirrine                    $0         $0            $0         $0       $5,202        $0             $0          $0          $0          $0            $0       $0
          Class 11 claim-LPSC                           $0         $0            $0         $0    $197,594         $0             $0          $0          $0          $0            $0       $0
          Class 12 claim-Oregon State CU                $0         $0            $0         $0      $28,163        $0             $0          $0          $0          $0            $0       $0
          Class 13 claim-BCMB1                          $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 14 claim-Quality                        $0         $0            $0         $0           $0        $0             $0          $0          $0          $0            $0       $0
          Class 15 claim-Shell Point                $5,844     $5,844        $5,844     $5,844       $5,844    $5,844         $5,844      $5,844      $5,844      $5,844        $5,844 $785,719
          Class 16 claim-Umpqua                         $0         $0            $0         $0    $102,872         $0             $0          $0          $0          $0            $0       $0
          Office rent                               $1,006     $1,006        $1,006     $1,006       $1,006    $1,006         $1,006      $1,006      $1,006      $1,006        $1,006   $1,006
          Business Software                           $300      $300          $300       $300         $300      $300           $300        $300        $300        $300          $300     $300
          Insurance                                 $1,655     $1,655        $1,655     $1,655         $317     $317           $317        $317        $317        $317          $317     $317


Total Expense                                      $86,892    $57,327       $57,327    $57,327   $1,662,175 $15,468       $15,468        $15,468     $15,468     $15,467     $15,468 $795,343

Net Operating Income (Loss)                             $0         $0            $0         $0 $1,037,825         $0               $0          $0          $0          $0            $0         $0
Other Expenses                                           $0         $0            $0         $0         $0         $0               $0          $0          $0          $0            $0         $0
Net Income (Loss)                                       $0         $0            $0         $0 $1,037,825         $0               $0          $0          $0          $0            $0         $0


Cash @ Beginning
Net Operating Income (Loss)                             $0         $0            $0         $0 $1,037,825         $0               $0          $0          $0          $0            $0         $0
Disposable Income                                        $0         $0            $0         $0 $1,037,825         $0               $0          $0          $0          $0            $0         $0
Class 18- GUC                                            $0         $0            $0         $0  $350,000          $0               $0          $0          $0          $0            $0         $0
Class 19 claim- Equity Holders
